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                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


                                     :
UNITED STATES OF AMERICA             :           NO. 1:06-CR-00111
                                     :
                                     :
             v.                      :           OPINION AND ORDER
                                     :
                                     :
STEVEN E. WARSHAK, et al.            :
                                     :



             This matter is before the Court on the United States’

Second Motion to Amend Preliminary Order of Forfeiture to Include

Substitute    Assets    (doc.    725),    Defendants    Steven    and   Harriet

Warshak’s Memorandum in Opposition (doc. 735), Defendant Steven

Warshak’s pro se Response (doc. 737), the Class Victims’ Objections

to the Motion (doc. 738), and the government’s Reply (doc. 739).

For the reasons indicated herein, the Court GRANTS the government’s

motion.

I.   The Government’s Motion, the Responses, and Reply.

             In its motion, the government requests the Court amend

the Preliminary Order of Forfeiture to include substitute assets of

Defendants    Steven     and    Harriet   Warshak    and    Berkeley    Premium

Nutraceuticals, specifically, the assets of Boland Naturals, Inc.

(“Boland”) (doc.       725).    The government indicates that though the

amendment would give it the authority to seize Boland assets, it

anticipates rather that it would cooperate with the bankruptcy

court’s process and the efforts of the debtor and trustee to allow
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for the best possible sale of Berkeley (Id.).1

            The government recounts that the Court entered the Second

Preliminary Order of Forfeiture on July 16, 2008, which held the

Defendants jointly and severally liable for $459,540,000.00 in a

proceeds money judgment, held the Warshak Defendants and Paul

Kellogg jointly and severally liable for $44,876,781.68 in a money

laundering judgment, and which resulted in the forfeiture of a

number of substitute assets (Id.). The government indicates it has

continually investigated Defendants’ assets so as to locate assets

sufficient to satisfy the money judgments, but that as of yet, it

has been unable to locate sufficient assets (Id.).                 However, the

government indicates it has determined the Defendants have an

interest in Boland, which they define as:

            All of the assets of Boland Naturals, Inc., including,
            but not limited to, its goodwill and intellectual
            property, with a value not in excess of $2,000,000.00

(Id.).   The government attaches a declaration of Postal Inspector

Alejandro E. Almaguer, who explains his findings as to Boland, and

who indicates Defendants have engaged in improper transfers of

money,   and   that   Harriet    Warshak    appears    to   have    substantial



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      The Court notes that during the pendency of the
government’s motion, U.S. Bankruptcy Judge J. Vincent Aug, Jr.
authorized the sale of Berkeley assets, including Boland. In re:
Berkeley Premium Nutraceuticals, Inc., et al., Jointly
Administered Case No. 08-15012 (Bankr. S.D. Ohio, December 26,
2008). The Court understands that sale of all such assets was
executed on December 29, 2008. The entitlement to Boland sale
proceeds remains disputed.

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unexplained income or undisclosed assets (Id.).

            The government therefore seeks, pursuant to 21 U.S.C. §

853(g), that it be empowered to preserve the availability of the

Boland assets as substitute property, pending the completion of the

forfeiture proceedings (Id.).          Accordingly, movant requests that

its second motion for forfeiture of substitute property be granted

and that an Order be entered forfeiting all of the Defendants’

right, title, and interest in the same to the United States.

            Defendants     Steven    and    Harriet    Warshak     oppose    the

government’s motion, arguing that should they prevail in their

appeal, the forfeiture of Boland would result in irreparable injury

(doc. 735).    Defendant Steven Warshak further filed a Response pro

se, in which he challenges Almaguer’s statements, arguing there

were no unauthorized transfers of money, and that attacks on his

Mother are shameful (doc. 737).

            The Parker Class of Victims in the Montgomery County,

Ohio Court of Common Pleas (“the Class”), also objects to the

government’s motion (doc. 738). The Class argues the motion should

be denied because it amounts to an end run around the priority

scheme   established     by   the   Bankruptcy     Code    and   violates    the

automatic stay under 11 U.S.C. § 362 (Id.).               The Class contends

that making the Boland assets substitute assets would affect its

rights and opportunities to collect on the balance of $1,459,500.00

due it under a Settlement Agreement entered between the Class and


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Defendant Warshak and a number of his companies (Id.).

            The Class argues the Bankruptcy Court is the proper

jurisdiction for determining how the Boland sales proceeds should

be distributed (Id.).          Moreover, the Class contends any order

entering a judgment of forfeiture against interests in the Boland

assets would be barred by the automatic stay (Id.).               Finally, the

Class argues the government is not entitled to the Boland sale

proceeds because the relation back fiction in Title 21 U.S.C. §

853(c) does not apply to substitute assets under Section 853(p)

(Id.).

            The government replies the Court has already rejected

Defendants’ argument of irreparable harm by refusing to stay

execution of the money judgment forfeitures and forfeitures of

substitute assets at the time of sentencing (doc. 739).                  As for

Steven Warshak’s pro se Response, the government argues he fails to

dispute that defendants have an interest in Boland, and he confirms

that Defendants have dissipated assets through loans and the

payment of legal fees (Id.).

            As for the arguments of the Parker Class, the government

contends the Bankruptcy Trustee has made no objection that the

government has violated the automatic stay provisions of the

bankruptcy code (Id.).        The government further argues the Class

lacks standing to object to a motion to forfeit substitute assets,

and rather is limited to filing claims in the ancillary proceeding


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(Id. citing United States v. McHan, 345 F.3d 262, 270 (4th Cir.

2003), United States v. Faulk. 340 F. Supp. 2d 1312, 1315 (M.D.

Ala. 2004)).        Should the Court reach the issue of the automatic

stay, which it need not, argues the government, the interplay

between forfeiture and bankruptcy law is an unsettled area (Id.).

In any event, indicates the government, case authority suggests

that forfeiture should take precedence over bankruptcy as it comes

within the police or regulatory power exception to the automatic

stay (Id., citing In re Chapman, 264 B.R. 565 (9th Cir. B.A.P.

2001), In re Dahlman, 304 B.R. 892, 895-96 (Bankr. M.D. Fla.

2003)).

II.   Discussion

            Having    reviewed      this       matter,    the    Court   finds     the

government’s    motion     well-taken.          The   Court     finds    Defendants’

arguments regarding irreparable harm lacking in merit.                    Should the

Court be reversed on appeal, the government could ultimately

reimburse Defendants for any value of assets improperly forfeited.

The Court further agrees with the government that Steven Warshak’s

pro se Response merely provides justification for the granting of

the government’s motion.

            As for the Parker Class, the Court is in agreement with

the government that it need not decide the issue as to the

interplay     between      the   bankruptcy        stay    and    the    forfeiture

provisions,    as    any    order   amending       the    Preliminary      Order   of


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Forfeiture to include Boland assets is not final, but only allows

the government to segregate and secure such assets.                   The Court

further finds the Class lacks standing to bring any challenge to a

forfeiture order, United States v. McHan, 345 F.3d 262, 270 (4th

Cir. 2003), and that its recourse is in the ancillary proceeding,

in the bankruptcy court, or by petitioning the Attorney General for

a remission of forfeiture.

            The Court disagrees that its approval of the Boland

assets as substitute assets would amount to an end run around the

Bankruptcy Code.      The Bankruptcy Court has already recognized the

distinctive    nature    of   the   Boland    assets,    and   this   Court   is

confident the Bankruptcy Court can make a proper determination of

the rights of the Parker Class.

III.   Conclusion

            Accordingly, for the reasons indicated herein, the Court

GRANTS the United States’ Second Motion to Amend Preliminary Order

of Forfeiture to Include Substitute Assets (doc. 725), DECLARES

that the assets of Boland Naturals, Inc., constitute substitute

property within the scope of 21 U.S.C. § 853(p), DECLARES that

Defendants Steven Warshak, Harriet Warshak, and Berkeley Premium

Nutraceuticals forfeit right, title, and interest to the Boland

assets, and DIRECTS the government to prepare and file forthwith an

amended Preliminary Order, consistent with this decision, for the

Court’s signature.       The Court further ORDERS the government to


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provide the requisite public notice of the amended Preliminary

Order so as to protect the interests of any third parties.                    21

U.S.C. § 853(n)(1).      This ruling shall be subject to further order

of the Court.



            SO ORDERED.


Dated: January 14, 2009              /s/ S. Arthur Spiegel
                                    S. Arthur Spiegel
                                    United States Senior District Judge




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